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                         FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

         UNITED STATES OF AMERICA,                No. 22-50281

                      Plaintiff-Appellee,       D.C. No. 2:19-cr-
                                                  00343-GW-2
          v.

         JAMES BRADLEY VLHA,                        OPINION

                      Defendant-Appellant.


         UNITED STATES OF AMERICA,                No. 22-50283

                      Plaintiff-Appellee,       D.C. No. 2:19-cr-
                                                  00343-GW-1
          v.

         TRAVIS SCHLOTTERBECK,

                      Defendant-Appellant.

               Appeal from the United States District Court
                  for the Central District of California
                George H. Wu, District Judge, Presiding

                  Argued and Submitted March 29, 2024
                  Submission Withdrawn April 3, 2024
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                             Resubmitted July 2, 2025
                               Pasadena, California

                                 Filed July 9, 2025

             Before: Ronald M. Gould, Sandra S. Ikuta, and Danielle J.
                             Forrest, Circuit Judges.

                            Opinion by Judge Forrest:


                                   SUMMARY *


                      Criminal Law / Second Amendment

             The panel affirmed James Vlha’s and Travis
         Schlotterbeck’s convictions under 18 U.S.C. § 922(a)(1)(A)
         for conspiring to manufacture firearms for sale without a
         federal license and Schlotterbeck’s conviction under 18
         U.S.C. § 922(d)(1) for selling a firearm to a felon.
            Defendants argued that these two statutes violate the
         Second Amendment.
             When, as here, the challenger is an individual whose
         direct possessory right to “keep and bear Arms” is not
         implicated, the ancillary-rights doctrine, which was not
         abrogated by New York State Rifle & Pistol Ass’n v.
         Bruen, 597 U.S. 1 (2022), applies. In this context, the
         Second Amendment is limited: it protects ancillary


         *
          This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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         activities only if the regulation of such activities
         meaningfully constrains the core possessory right.
             The panel applied the meaningful-constraint test to
         determine whether the conduct at issue is presumptively
         protected by the Second Amendment.
             The panel held that the text of the Second Amendment
         does not cover the conduct regulated by § 922(a)(1)(A)
         because requiring commercial firearm manufacturers to
         obtain licenses—under a non-discretionary scheme that
         requires the license to be issued if the applicant pays a filing
         fee, is at least 21-years old, has premises on which to conduct
         his business, and is generally compliant with other laws—
         does not meaningfully constrain would-be purchasers from
         obtaining firearms. Defendants’ constitutional challenge as
         to § 922(a)(1)(A) therefore fails.
             The panel held that Schlotterbeck’s facial and as-applied
         challenges to § 922(d)(1) also fail. The logic of United
         States v. Duarte, 137 F.4th 743 (9th Cir. 2025) (en banc)—
         which held that 18 U.S.C. § 922(g)(1)’s ban on felons
         possessing firearms is justified by our nation’s history and
         tradition of disarming people the legislature deems
         dangerous—dictates the outcome here.                  Section
         § 922(d)(1)’s prohibition on firearms to felons cannot
         meaningfully constrain the possessory rights of felons
         because they do not have possessory rights.
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                                 COUNSEL

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                                 OPINION

         FORREST, Circuit Judge:

             Defendants James Vlha and Travis Schlotterbeck were
         convicted under 18 U.S.C. § 922(a)(1)(A) for conspiring to
         manufacture firearms for sale without a federal license and
         Schlotterbeck was convicted under 18 U.S.C. § 922(d)(1) for
         selling a firearm to a felon. Defendants argue that these two
         statutes violate the Second Amendment. We disagree
         because the Second Amendment does not apply to
         Defendants’ conduct.
                              BACKGROUND
             Defendants conspired to manufacture and sell semi-
         automatic AR-15 firearms without a license in Bellflower,
         California. They accepted orders for custom assault
         weapons, created parts using specialized equipment, and
         assembled and sold the firearms. In 2015 and 2016,
         Defendants manufactured custom assault weapons and
         unwittingly sold them to various undercover agents.
         Schlotterbeck also sold a firearm to a confidential informant
         who Schlotterbeck believed was a felon.
             Defendants were charged with conspiring to engage in
         the business of manufacturing and dealing of firearms
         without a license, and Schlotterbeck was charged with
         selling a firearm to a felon. Defendants moved to dismiss
         their indictment under Federal Rule of Criminal Procedure
         12(b)(3) as unconstitutional under New York State Rifle &
         Pistol Ass’n v. Bruen, 597 U.S. 1 (2022). The district court
         denied their motion, and Defendants entered conditional
         pleas preserving their right to appeal that decision.
         Defendants timely appealed.
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                                DISCUSSION
             “[A]n indictment sought under a statute that is
         unconstitutional on its face or as applied will . . . be
         dismissed.” United States v. Mayer, 503 F.3d 740, 747 (9th
         Cir. 2007). We review de novo the denial of a motion to
         dismiss an indictment challenging the constitutionality of the
         charging statute. United States v. Howald, 104 F.4th 732,
         736 (9th Cir.), cert. denied, 145 S. Ct. 781 (2024). In doing
         so, we are limited to the allegations within the four corners
         of the indictment. Cf. United States v. Jensen, 93 F.3d 667,
         669 (9th Cir. 1996). Defendants raise both facial and as-
         applied challenges to § 922(a)(1)(A) and § 922(d)(1).
         Challenging a statute as facially unconstitutional is the
         “‘most difficult challenge to mount successfully,’ because it
         requires a defendant to ‘establish that no set of
         circumstances exists under which the [law] would be valid.’”
         United States v. Rahimi, 602 U.S. 680, 693 (2024) (quoting
         United States v. Salerno, 481 U.S. 739, 745 (1987)).
             Like many other circuits, after the Supreme Court
         decided District of Columbia v. Heller, 554 U.S. 570 (2008),
         we initially adopted a means-ends balancing test for
         assessing Second Amendment challenges. E.g., Teixeira v.
         County of Alameda, 873 F.3d 670, 682 (9th Cir. 2017) (en
         banc), abrogated in part by Bruen, 597 U.S. at 17. Bruen
         rejected this approach and held that a Second Amendment
         analysis must be rooted only in the constitutional text and
         the nation’s history and tradition of firearm regulation.
         Bruen, 597 U.S. at 24. Thus, we must begin our analysis by
         determining whether “the Second Amendment’s plain text”
         covers the regulated conduct at issue. Id. If it does, “the
         Constitution presumptively protects that conduct,” id. at 24,
         and the government must justify its regulation by
         demonstrating that “‘historical precedent’ from before,
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         during, and even after the founding evinces a comparable
         tradition of regulation.” Id. at 27 (quoting Heller, 554 U.S.
         at 631). But if the text of the Second Amendment does not
         protect the conduct at issue, a constitutional challenge
         necessarily fails. B&L Prods., Inc. v. Newsom, 104 F.4th
         108, 120 (9th Cir. 2024), cert. denied, 145 S. Ct. 1958 (2025)
         (mem.).
              The Second Amendment ensures that “the right of the
         people to keep and bear Arms, shall not be infringed.” U.S.
         Const. amend. II. This provision protects “the individual
         right to possess and carry weapons” for self-defense. Heller,
         554 U.S. at 592. Whether the Second Amendment applies
         depends on whether (1) the challenger is part of “the
         people,” (2) the instrument at issue is an “Arm[],” and
         (3) the challenger’s proposed course of conduct falls within
         the “right . . . to keep and bear Arms.” U.S. Const. amend.
         II; see also Heller, 554 U.S. at 579–92 (textually interpreting
         each element).
             Where the challenger is an individual whose direct
         possessory right to “keep and bear Arms” is not implicated,
         as here, our ancillary-rights doctrine applies. Before Bruen,
         we held that the Second Amendment protects some activities
         ancillary to the core possessory right, including the ability to
         acquire weapons. E.g., Teixeira, 873 F.3d at 676–78. But the
         Second Amendment is limited in this context: it protects
         ancillary activities only if the regulation of such activities
         “meaningfully constrain[s]” the core individual possessory
         right. Id. at 680. There is not “a freestanding right” to sell
         firearms that is “wholly detached from any customer’s
         ability to acquire firearms.” Id. at 682; see also id. 682–90
         (analyzing the history). A vendor challenging a firearms
         regulation must be able to demonstrate that the would-be
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         purchasers’ core right of possession is being meaningfully
         constrained. See id. at 678, 681–90.
             Bruen did not abrogate our ancillary-rights doctrine.
         B&L Prods., 104 F.4th at 120; see also Duncan v. Bonta, 133
         F.4th 852, 866–67 (9th Cir. 2025) (en banc). This doctrine is
         based on the text of the Second Amendment, which we have
         interpreted as prohibiting “meaningful constraints” on the
         right to possess firearms. B&L Prods., Inc., 104 F.4th at 118.
         Several of our sister circuits also have adopted our
         meaningful-constraint test or something like it. See Gazzola
         v. Hochul, 88 F.4th 186, 196–97 (2d Cir. 2023) (citing with
         approval Teixeira’s “meaningful constraint” test); McRorey
         v. Garland, 99 F.4th 831, 839 (5th Cir. 2024) (“The right to
         ‘keep and bear’ can implicate the right to purchase. That is
         why the [Supreme] Court prohibits shoehorning restrictions
         on purchase into functional prohibitions on keeping. But
         such an implication is not the same thing as being covered
         by the plain text of the amendment.” (citation omitted)); see
         also Rocky Mountain Gun Owners v. Polis, 121 F.4th 96,
         120 (10th Cir. 2024) (“[L]aws imposing conditions and
         qualifications on the sale and purchase of arms do not
         implicate the plain text of the Second Amendment.”).
             Thus, we apply the meaningful-constraint test at step one
         of the Bruen analysis to determine whether the conduct at
         issue is presumptively protected by the Second Amendment.
         B&L Prods., 104 F.4th at 119; Nguyen v. Bonta, --- F.4th --
         -, 2025 WL 1718079, at *2–3 (9th Cir. 2025). We have not
         defined all the contours of the meaningful-constraint test.
         But a few examples help clarify its scope. Prohibiting an
         entire group from purchasing firearms—if the members of
         the group have the right to possess firearms—would
         meaningfully constrain their rights. Similarly, “a ban on all
         sales of a certain type of gun or ammunition in a region
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         generally implicates the Second Amendment.” B&L Prods.,
         104 F.4th at 119. But “a minor constraint on the precise
         locations within a geographic area where one can acquire
         firearms does not.” Id. Indeed, the plaintiffs in Teixeira were
         not permitted to open a gun store in Alameda County,
         California because they could not find a location for the store
         that was more than 500 feet away from schools, day care
         centers, liquor stores, other gun stores, and residential areas,
         as required by the local zoning ordinance. 873 F.3d at 674,
         676. But we rejected their Second Amendment challenge
         because their complaint demonstrated that “Alameda
         County residents may freely purchase firearms within the
         County.” Id. at 679. That is, plaintiffs did not show that the
         core possessory right of would-be purchasers was
         meaningfully constrained by the zoning ordinance. See id. at
         680–81.
             Similarly, in B&L Productions, gun show operators
         challenged statutes restricting firearm sales on government
         property that functionally prohibited gun shows from being
         held at county fairgrounds. See 104 F.4th at 111–12. We also
         rejected their Second Amendment challenge because they
         did not allege “that a ban on sales on state property would
         impair a single individual from keeping and bearing
         firearms.” Id. at 119. There were “six licensed firearm
         dealers” located in the relevant zip code and we reasoned
         that “[m]erely eliminating one environment where
         individuals may purchase guns does not constitute a
         meaningful constraint on Second Amendment rights when
         they can acquire the same firearms down the street.” Id.
            Conversely, in Nguyen we recently held that restricting
         buyers to purchasing one firearm within a 30-day period
         meaningfully constrains the core right of possession.
         Nguyen, 2025 WL 1718079, at *2–4. And that restriction
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         was also invalid as to sellers. Both buyers and sellers were
         subject to penalties for violating the 30-day restriction and
         the plaintiffs in that case included both buyers and sellers.
         See id. at *1–2.
             With these principles in mind, we turn to whether the
         plain text of the Second Amendment protects the conduct for
         which Defendants were convicted in this case. Bruen, 597
         U.S. at 24.
                          I. Unlicensed Manufacturing
             Federal law prohibits manufacturing firearms for public
         sale or distribution without a license. 18 U.S.C.
         § 922(a)(1)(A). 1 And because Defendants are not asserting
         possessory rights, whether the Second Amendment protects
         their unlicensed manufacture of firearms is governed by the
         ancillary-rights doctrine.
             Broadly speaking, we agree with Defendants that the
         ability to manufacture firearms facilitates individuals’
         ability to buy firearms, which facilitates the core right to
         “keep and bear Arms.” See Teixeira, 873 F.3d at 677
         (holding the “core Second Amendment right . . . ‘wouldn’t
         mean much’ without the ability to acquire arms” (citation

         1
           “It shall be unlawful—(1) for any person—(A) except a . . . licensed
         manufacturer . . . to engage in the business of . . . manufacturing . . .
         firearms . . . .” 18 U.S.C. § 922(a); see also 18 U.S.C. § 921(a)(10) (“The
         term ‘manufacturer’ means any person engaged in the business of
         manufacturing firearms or ammunition for purposes of sale or
         distribution; and the term ‘licensed manufacturer’ means any such
         person licensed under the provisions of this chapter.”); 18 U.S.C.
         § 921(a)(21)(A) (stating that a person “engaged in the business” of
         manufacturing means “a person who devotes time, attention, and labor
         to manufacturing firearms as a regular course of trade or business with
         the principal objective of livelihood and profit through the sale or
         distribution of the firearms manufactured.”).
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         omitted)). But federal law does not prohibit manufacturing,
         only manufacturing “as a regular course of trade or business”
         without a license. 18 U.S.C. §§ 921(a)(21)(A), 922(a)(1)(A).
         The licensing scheme that Congress created here is not
         discretionary—the required license must be issued if the
         applicant pays a filing fee, is at least 21-years old, has
         premises on which to conduct his business, and is generally
         compliant with other laws. See 18 U.S.C. § 923(a), (d); see
         also 27 C.F.R. §§ 478.41–478.60.
             In 2023, there were over 3500 licensed firearms
         manufacturers in the United States. See Bureau of Alcohol,
         Tobacco, Firearms & Explosives, 2023 Annual Firearms
         Manufacturers and Export Report (March 26, 2025),
         https://www.atf.gov/explosives/docs/report/afmer2023datat
         ablefinal5081xlsx/download [https://perma.cc/J89W-
         LY8A]. 2 That same year, there were also nearly 10 million
         firearms manufactured by licensed manufacturers. See
         Bureau of Alcohol, Tobacco, Firearms & Explosives,
         Annual Firearms Manufacturing and Export Report: Year
         2023         Final        (March          26,        2025),
         https://www.atf.gov/explosives/docs/report/afmer2023final
         reportsummarycoversheet5081pdf/download [https://perma
         .cc/Y5PG-CNX9]. Given this, requiring commercial firearm
         manufacturers to obtain licenses under the shall-issue
         scheme challenged here does not meaningfully constrain
         would-be purchasers from obtaining firearms. See Teixeira,
         873 F.3d at 680–81. While “any permitting scheme can be
         put toward abusive ends” through “lengthy wait times in
         processing license applications or exorbitant fees” and the

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          Reports of government agencies are subject to judicial notice. United
         States v. 14.02 Acres of Land More or Less in Fresno County, 547 F.3d
         943, 955 (9th Cir. 2008).
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         like, Bruen, 587 U.S. at 38 n.9, Defendants have not shown
         any such abuse here. Therefore, we conclude that the text of
         the Second Amendment does not cover the conduct
         regulated by § 922(a)(1)(A), and Defendants’ constitutional
         challenge as to this statute fails.
                              II. Sale to a Felon
             Section 922(d)(1) prohibits “sell[ing] or otherwise
         dispos[ing] of any firearm or ammunition to any person
         knowing or having reasonable cause to believe that such
         person . . . is under indictment for, or has been convicted in
         any court of,” a felony. 18 U.S.C. § 922(d)(1). Schlotterbeck
         challenges this statute both facially and as applied in his
         case. Given our precedent, the answer to this challenge is
         more straightforward than the challenge to § 922(a)(1)(A).
             To determine whether the Second Amendment protects
         selling firearms to felons, we again apply our ancillary-rights
         doctrine and ask whether the restriction against such sales
         meaningfully constrains the would-be purchasers from
         possessing firearms. B&L Prods., 104 F.4th at 119.
             In United States v. Duarte, we rejected the Government’s
         argument at step one of the Bruen analysis and held that
         felons are included in “the people.” 137 F.4th 743, 752–55
         (9th Cir. 2025) (en banc). But at step two, we concluded that
         § 922(g)(1)’s ban on felons possessing firearms is justified
         by our nation’s history and tradition of disarming people the
         legislature deems dangerous. Id. at 761–62. Indeed, we held
         that our history and tradition supported categorically
         disarming felons, even those convicted of non-violent
         offenses. See id. at 761. If felons have no Second
         Amendment right to keep and bear arms, then it necessarily
         follows that they have no right to purchase firearms.
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             Schlotterbeck argues that Duarte does not apply here
         because it addressed § 922(g)(1) rather than § 922(d). We
         disagree. Although Duarte addressed a separate provision,
         its logic dictates the outcome here. Section 922(d)(1)’s
         prohibition on selling firearms to felons cannot meaningfully
         constrain the possessory rights of felons because they do not
         have possessory rights. 3 Accord United States v. Knipp, 138
         F.4th 429, 435 (6th Cir. 2025). For this reason,
         Schlotterbeck’s facial and as-applied constitutional
         challenges to § 922(d)(1) also fail.
             AFFIRMED.




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           We do not reach whether § 922(d) is constitutional in its other
         applications or as applied to conduct not at issue here.
